Case 1:24-cv-03188-RC Document14-3 Filed 01/30/25 Page 1of6

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

Plaintiff,

Vv.
Case No. 1:24-cv-3188-RC
DOROTHY FINK, Acting Secretary of Health
and Human Services, et al.,

Defendants.

CR LOR? CI UO? LOA LI? LOR LO? OR LOR OP WOR UP LOR (Or? LO

DECLARATION OF SHONA CARR IN SUPPORT OF 340B HEALTH,
UMASS MEMORIAL MEDICAL CENTER, AND GENESIS
HEALTHCARE SYSTEM’S MOTION TO INTERVENE

I, Shona Carr, state as follows under the penalty of perjury:
1. I am the Director of 340B & Ambulatory Pharmacies at Genesis HealthCare System

(Genesis), a Proposed Intervenor in this action.

2. I have been the Director of 340B & Ambulatory Pharmacies for four and a half years.
Before that I was the 340B Pharmacy Manager.

3. The information set forth in this affidavit is based upon my personal knowledge.

Genesis and the Population It Serves

1. Genesis is an integrated healthcare delivery system based in Zanesville, Ohio. Its
flagship organization, Genesis Hospital, is a not-for-profit hospital that provides care to all

members of the community, regardless of their ability to pay. Genesis serves six counties in Ohio
Case 1:24-cv-03188-RC Document14-3 Filed 01/30/25 Page 2 of 6

with a total population of 235,000 in its primary service area (PSA). That population is
materially disadvantaged compared to the state as a whole in nearly every indicator of
community health: the median household income in the PSA is $46,528, while the median
household income in Ohio is $56,602; 17.8% of the population in the PSA lives below the
poverty line, while the 14.5% of the population of Ohio lives below the poverty line; and 34% of
the population in the PSA rely on Medicaid for health insurance, which is well above the
percentage of the population in Ohio that rely on Medicaid for health insurance. Additionally,
smoking, obesity, diabetes, heart disease, stroke, cancer, and substance abuse rates in the PSA
are all above the median of those rates in Ohio. Each year, Genesis uses its savings to provide
millions of dollars in free care for people who cannot afford health services, and over 300,000
community members have benefitted from those programs.

2. Genesis is a “covered entity,” as defined in section 340B of the Public Health Service
Act, 42 U.S.C. § 256b(a)(4)(A), by virtue of its qualification as a “disproportionate share”
hospital that treats a large percentage of indigent patients.

3. Genesis is a member of 340B Health, also a Proposed Intervenor in this case.

4. Genesis relies on savings gained through the 340B Program to help support
comprehensive services for the medically underserved community.

5. For example, Genesis relies on those savings to fund its 340B Patient Assistance
Program, which provides medications, including Johnson & Johnson’s (J&J’s) STELARA and
XARELTO, at a discount to eligible patients in underserved communities, allowing them to
access essential drugs at a lower cost. In 2024, that program filled 24,770 prescriptions for 2,309

patients and saved those patients a total of $1.97 million in out-of-pocket costs.
Case 1:24-cv-03188-RC Document14-3 Filed 01/30/25 Page 3 of 6

6. Genesis also uses 340B savings to fund its Meds to Bed Program, which ensures that
patients have access to necessary medications once they are discharged from the hospital. In
2024, that program filled 1,031 prescriptions for 458 patients and saved those patients a total of
$24,150 in out-of-pocket costs.

7. Genesis additionally offers a shuttle service that is provided free of charge to
discharged patients who need a ride home and have no other means of transportation. This
service covers six counties and has provided transportation to 1,200 patients in the past two
years.

8. Genesis has recently implemented an initiative focused on providing proactive in-
home visits for high-risk patients with chronic conditions. This Paramedicine Program is
designed to benefit the community by bringing a healthcare specialist to the patient’s residence
to provide a variety of services, such as drawing lab work, conducting a health assessment,
initiating a physician tele visit, and ensuring medication compliancy. This referral service is free
to the community and helps fill the gaps identified in the existing healthcare model and improve
patients’ quality of life. Genesis additionally funds several other programs, in part with their
340B savings, including smoking cessation counseling, stroke prevention programs, and free
mammograms to eligible community members.

The Impact of the Proposed Rebate Model on Genesis

9. I have had the opportunity to review Johnson & Johnson’s proposed rebate model and
to evaluate its potential impact on Genesis’ current operations. J&J’s proposed rebate model
threatens to reduce the amount Genesis saves through the 340B Program and, as a result,

Genesis’ ability to provide critical services to the most vulnerable patients.
Case 1:24-cv-03188-RC Document14-3 Filed 01/30/25 Page 4 of 6

10. More specifically, should J&J’s proposed rebate model be allowed to proceed, Genesis
will be forced to re-evaluate its 340B Patient Assistance Program. Genesis is deeply concerned
about whether J&J will reliably and consistently provide the promised rebates, specifically
because of the uncertainty about how J&J, or the third-party contractor that it employs, will
evaluate the claims. That uncertainty creates reasonable concern that the third party-contractor
will improperly deny claims and that J&J’s internal appeals process will improperly affirm those
claim denials after Genesis has paid the full price for the drugs expecting to be reimbursed the
difference between that price and the 340B discounted price. Genesis estimates that its annual
drug purchasing costs for STELARA and XARELTO would increase by over $300,000 if it were
required to purchase STELARA and XARELTO at their full prices instead of at 340B discounted
prices. If a significant number of claims are improperly denied, there will be serious financial
consequences, and Genesis will not have access to the upfront savings required to support the
340B Patient Assistance Program and may have to eliminate the program, as it applies to
STELARA and XARELTO.

11. The impact on patients if the 340B Patient Assistance Program is cut will be
immediate, even if the rebate program were limited to STELARA and XARELTO (which it will
not be since four other drug manufacturers have already announced their intention to impose
similar rebate models). Currently, a qualifying patient receives his or her prescription for
STELARA and XARELTO for $5 a month under Genesis’ 340B Patient Assistance Program.
However, if Genesis cannot guarantee that it will be issued a rebate for the full price it will pay
to J&J to purchase STELARA and XARELTO, patients will have to pay the regular, out-of-
pocket price, which could cost patients up to $767 for XARELTO and $5,867 for STELARA,

depending on whether patients have insurance and the amount that insurance will cover. Most
Case 1:24-cv-03188-RC Document14-3 Filed 01/30/25 Page 5 of6

qualifying patients will not be able to afford those prices, particularly at the higher end, and may
be forced to forego taking needed medications.

12. J&J’s proposed rebate model will have a similar impact on Genesis’ Meds to Bed
program. The Meds to Bed program already operates at a loss; the program requires one fulltime

pharmacist, four fulltime pharmacy technicians, and one fulltime pharmacy courier to effectively

operate the program, at an estimated annual salary and benefit cost of $418,000, Those six
individuals focus solely on providing outpatient pharmacy services to patients being discharged
from the hospital. The program is funded through the 340B savings generated by the Genesis
Outpatient Pharmacy and exists as a benefit to our patients and to aid in the reduction of
readmissions. If Genesis’ 340B savings are substantially reduced, then it may no longer be able
to afford to operate the program.

13. The upfront drug cost savings that the 340B drug discount program provides to
Genesis is used to provide the additional community programs described in paragraphs 8-11,
supra. The proposed rebate model would force Genesis to evaluate the ability to continue these
free community programs that its patients and community rely on, potentially leaving patients
without transportation to or from the hospital and cutting the service that provides free
mammograms.

14. Additionally, Genesis will be forced to divert funds used to provide care to the
underserved to maintain compliance with J&J’s proposed rebate model. Genesis estimates that it
will need to spend an additional $200,000 annually to hire and train new fulltime employees,
who will be tasked solely with collecting data, submitting and reconciling rebate claims, and

disputing any denied rebate claims. There will also be additional, significant legal fees that
Case 1:24-cv-03188-RC Document14-3 Filed 01/30/25 Page 6 of 6

Genesis may have to pay if it is forced to use HRSA’s Alternative Dispute Resolution Process to
dispute improper claim denials.

15. Should the entire 340B Program be converted into a rebate model, which is a
reasonable assumption given that Sanofi-Aventis U.S. LLC, Eli Lilly and Company, Novartis
Pharmaceuticals Corporation, and Bristol Myers Squibb have already announced their intention
to establish rebate programs, Genesis estimates that it would be required to spend an additional
$5.2 million per month upfront to buy 340B drugs at full price. Even if all the rebates are
ultimately issued (which seems unlikely) the additional up-front cost will leave Genesis’s system
operating at a significant negative margin until the rebates are processed, which will have a large
impact on Genesis’ overall financial health.

16. Ifthe rebates are improperly denied, or even delayed, Genesis will suffer large
financial harm, resulting in unquantifiable consequences to staff, patients, programs, and the
overall care for the community Genesis serves. Not only does Genesis predict that it will have to
close its 340B Patient Assistance and Meds to Bed programs, but Genesis also predicts that it
will have to evaluate its ability to financially support other community benefits, which would
have a significant impact on the community’s most vulnerable patients and drastically reduce
healthcare access for surrounding communities. Genesis’ ability to borrow funds to support these
programs will also be impaired by the significant negative margin created by providing the

upfront costs of each drug.

On this 29th day of January, 2025, I declare under penalty of perjury that the foregoing

is true and correct. KE, i Vb (A We a

ona Carr
Director, 340B & Ambulatory Pharmacies
Genesis Healthcare System

